Case 6:21-cv-00312-JA-LHP Document 75 Filed 09/26/22 Page 1 of 1 PageID 2367



                      UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

   SANDRA KUBA,
               Plaintiff,

   v.                                              Case No. 6:21-cv-312-JA-LHP

   DISNEY FINANCIAL SERVICES,
   LLC,
               Defendant.


                                        ORDER

         The Court has been advised that the above-styled action settled during a

   magistrate judge settlement conference. (Notice, Doc. 73).

         Accordingly, pursuant to Local Rule 3.09(b) of the Middle District of

   Florida, it is ORDERED and ADJUDGED that this case is hereby

   DISMISSED subject to the right of any party, within sixty days from the date

   of this Order, to move the Court to re-open the case for entry of a stipulated final

   order or a judgment or for further proceedings.         All pending motions are

   DENIED as moot. The Clerk is directed to close this case.

         DONE and ORDERED on September 26, 2022.




   Copies furnished to:
   Counsel of Record
